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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY




     SPARKLE HILL, INC.,
     individually and as the               Civil No. 13-4172 (NLH/AMD)
     representative of a class of
     similarly-situated persons,
       Plaintiff,                          MEMORANDUM OPINION &
                                           ORDER TO SHOW CAUSE
           v.

     Invecor, LLC,
     doing business as
     AMB Business Supply,
       Defendant.

 APPEARANCES

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       On behalf of Plaintiff

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       On behalf of Defendant

 HILLMAN, District Judge

       WHEREAS, this case concerns Plaintiff’s claims that

 Defendant violated the Telephone Consumer Protection Act

 (“TCPA”), 47 U.S.C. § 227, when it engaged Business to Business

 Solutions (“B2B”), which sold fax blasting services, to send out

 34,668 faxes to advertise its business to 28,836 different fax

 numbers; and

       WHEREAS, on October 24, 2017, the Court granted Plaintiff’s

 motion for summary judgment as to liability only, finding that

 the certified class was entitled to judgment in its favor for

 each advertisement faxed that failed to contain the proper opt-

 out notice to each class member (Docket No. 139 at 14); and

       WHEREAS, the Court noted that because Plaintiff did not

 provide the Court with any notices from class members who had

 opted out of this litigation, the Court could not enter final

 judgment until the precise number of unsolicited faxes and class

 members was established, and that the assessment of damages was

 not quantifiable at that time, as it was possible that class

 members suffered damages in excess of the $500 statutory

 penalty, 47 U.S.C. § 227(b)(3) (the recipient may recover for

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 its actual monetary loss, or receive $500 per fax, whichever is

 greater) (Docket No. 139 at 14 n.3); and

       WHEREAS, the Court Ordered that Plaintiff was to (1) inform

 the Court on the status of its state law claims, which were

 pleaded in the complaint but for which it did not seek summary

 judgment, (2) provide documentation to demonstrate class member

 opt-out notices, if any; and (3) provide a proposed form of

 judgment as to the TCPA claims, along with an explanation of its

 conclusion that no class member seeks damages in excess of $500

 (Docket No. 139 at 14); and

       WHEREAS, the Court further directed the parties to confer

 as to whether a judgment in a significantly smaller sum would

 likely provide full statutory recovery to all class members who

 filed claims (Docket No. 139 at 15 n.4); and

       WHEREAS, Plaintiff has complied with the Court’s direction,

 by filing a stipulation of dismissal for Plaintiff’s state law

 claims, providing documentation as to one opt-out, providing a

 form of judgment, and relating that Plaintiff and Defendant

 conferred regarding the amount of the judgment (Docket No. 141,

 142, 143); and

       WHEREAS, the Court has not received any communication from

 Defendant, aside from its counsel’s signature on the stipulation

 of dismissal of Plaintiff’s state law claims, since it filed its

 opposition to Plaintiff’s motion on July 1, 2016 (Docket No.

                                       3
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 123);

       THEREFORE,

       IT IS on this      13th        day of     December      , 2017

       ORDERED that due to the type of case, the nature of the

 defendant company, and the amount of the statutory damages to be

 imposed, the Court shall afford Defendant 30 days from the date

 of this Order to show cause as to why judgment in the amount of

 $17,333,500.00 (which is $500 in statutory damages for each time

 one of Defendant’s 34,667 unsolicited faxes was successfully

 sent to the 28,835 class members) should not be entered against

 it; and

       WHEREAS, if Defendant fails to respond, or otherwise does

 not present a valid reason against the entry of such judgment,

 the Court will certify the class as final, and enter judgment in

 Plaintiff’s favor and against Defendant in the amount of

 $17,333,500.00.




                                             s/ Noel L. Hillman
 At Camden, New Jersey                     NOEL L. HILLMAN, U.S.D.J.




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